                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-422

                                        No. COA20-648

                                     Filed 17 August 2021

     Currituck County, No. 19-CVS-239

     85’ AND SUNNY, LLC, Petitioner,

                   v.

     CURRITUCK COUNTY, Respondent.


             Appeal by Respondent and cross-appeal by Petitioner from order entered

     2 March 2020 by Judge L. Lamont Wiggins in Currituck County Superior Court.

     Heard in the Court of Appeals 8 June 2021.


             Williams Mullen, by Thomas H. Johnson, Jr., and Lauren E. Fussell, for
             Petitioner-Appellee/Cross-Appellant.

             Currituck County Attorney       Donald    I.   McRee,    Jr.,   for   Respondent-
             Appellant/Cross-Appellee.


             COLLINS, Judge.


¶1           This case arises from improvements 85 Degrees and Sunny, LLC (“Petitioner”),

     seeks to make to a campground located in Currituck County, North Carolina. Both

     Currituck County (“Respondent”) and Petitioner appeal from the superior court’s

     order    reversing   the   Currituck   County    Board   of     Adjustment’s    (“Board”)

     (1) determination of the number of campsites that existed on Petitioner’s campground

     as of 1 January 2013, and (2) conclusion that Currituck County’s Unified
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     Development Ordinance (“UDO”) permitted some, but not all, of Petitioner’s proposed

     improvements to the campground. We affirm in part and reverse in part the superior

     court’s order and remand to the superior court to essentially affirm the Board’s entire

     order.

                    I.   Procedural History and Factual Background

¶2            The Hampton Lodge Campground (“Campground”) has existed since at least

     May 1967. At the time the Campground began operation, the County did not regulate

     the use of property by zoning regulations. Under the County’s initial 1971 zoning

     ordinance, campgrounds were a permitted use of property in certain districts, subject

     to certain requirements. There was no documentation that the Campground’s owners

     had complied with the 1971 ordinance’s requirements for approved campgrounds and

     the Campground operated as a nonconforming use. The Campground has continued

     as a nonconforming use under subsequent County zoning regulations adopted in

     1975, 1982, 1989, 1992, 2007, and 2013.

¶3            Under the current UDO, adopted in 2013, the Campground continues to be a

     nonconforming use. The UDO provides that “[a] nonconforming use shall not be

     changed to any other nonconforming use[,]” UDO § 8.2.2., and generally “shall not be

     enlarged, expanded in area, or intensified[,]” UDO § 8.2.3.A. Additionally, section

     8.2.6. of the UDO deems all existing private campgrounds as nonconforming uses,

     subject to certain standards, including in relevant part:
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                         A. General Standards

                          (1) Camping is an allowed use of land only in
                              existing campgrounds and campground
                              subdivisions.

                          ....

                          (5) Modifications to existing campgrounds are
                              permitted provided the changes do not
                              increase the nonconformity with respect to
                              [the] number of campsites that existed on
                              January 1, 2013.

                         B. Existing Campgrounds

                          (1) Existing campgrounds may not be expanded
                              to cover additional land area or exceed the
                              total number of campsites that existed on
                              January 1, 2013.

     UDO § 8.2.6.

¶4           Throughout the Campground’s history, owners and developers have submitted

     documentation to county entities reflecting varying numbers of campsites in

     existence. A camper subdivision plat showing over 700 campsites was submitted in

     1973, but never approved. A site plan submitted alongside an application for a

     conditional use permit for a concert in 1996 showed 234 campsites at the property,

     90 vehicular parking spaces, and a tent camping area. A site plan submitted with a

     similar application in 1997 again showed 234 campsites and a tent camping area.

     Neither plan indicated the specific number of tent campsites within the tent camping

     area.
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¶5          Petitioner purchased the Campground in June 2018 and submitted a Major

     Site Plan (“Plan”) to Currituck County for review. The Plan showed 314 campsites

     for recreational vehicle, trailer, or camper use, and 78 campsites for tent camping.

     The Plan also proposed the following improvements:

                    two new restroom and bathhouse facilities,
                    a swimming pool and pool house,
                    improvements to the on-site septic system,
                    two dog park areas,
                    playground improvements, and
                    the demolition and replacement of an existing residence and barn for the
                     caretaker/manager of the campground.

¶6          In its review of the Plan, the County determined that the number of campsites

     exceeded the number of campsites that existed on 1 January 2013, and the additional

     amenities shown on the Plan were not permitted under the UDO.1

¶7          In August 2018, Petitioner filed an Application for Interpretation and

     supporting materials with the Currituck County Planning and Development Director

     (“Director”).    Petitioner sought a determination of (1) the number of campsites

     existing on the Campground on 1 January 2013 and (2) whether the UDO allowed

     Petitioner’s proposed improvements to the property.

¶8          The Director issued a Letter of Determination (“Letter”) on 1 January 2013

     wherein the Director determined “that 234 campsites have received some form of



            1 A copy of the County’s determination is not in the Record on Appeal but is referenced

     in Plaintiff’s Petition for Writ of Certiorari to the superior court.
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       approval between 1971 and 1997 and 234 campsites existed on January 1, 2013.” The

       Director also determined that the number of “[t]ent campsites would need to be

       calculated based on the historical tent area divided by the minimum campsite size

       (3000 square feet) required by all zoning regulations before the 2013 UDO.” The

       Director could “[]not verify, and therefore [did] not conclude, that 78 tent campsites

       were established prior to January 1, 2013.”

¶9           Regarding Petitioner’s proposed improvements, the Director interpreted the

       term “modification” in section 8.2.6.A.(5) to require that “something needs to exist

       before a change, alteration, or amendment can be made[,]” and concluded as follows:

       “only changes to existing buildings and structures are permitted”; existing facilities—

       “restroom facilities, piers, docks, bulkheads, camp store, and other recreation

       facilities”—could be modified; “[t]he new facilities listed in the application . . . such

       as the new bathroom facilities, swimming pool, pool house and the like” “are not

       limited changes but are substantial and an impermissible expansion, enlargement

       and intensification of a nonconforming use” prohibited under section 8.2.3.A.

¶ 10         Petitioner appealed to the Board. At the hearing before the Board, the Director

       testified to the history of permits applied for and issued to the Campground, including

       the 1996 and 1997 conditional use permits. Petitioner tendered Warren Eadus, who

       was accepted as an expert witness in site plans. Eadus testified that there were 408

       RV sites and 50 tent sites at the Campground. Paul O’Neal, who resided three miles
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       south of the Campground for 50 years, testified that he was hired to perform

       maintenance on the campsites in 1980. O’Neal testified that in 1980, there were 175

       to 200 campsites, and the Campground had not changed from that time.             John

       Pappas, a previous owner of the Campground, testified that there were 252 utility

       hookups, that a previous music festival was held with close to 400 camping units in

       attendance, and stargazers had camped for 25 years in the wooded portion of the

       property.

¶ 11         Other previous owners averred that “[c]ampers have been free to utilize the

       entire premises for their campsite” and “[t]here has never been a limitation imposed

       on the number of the sites, the location of the sites, nor occupancy by vehicles of any

       kind, or tents, or simply sleeping bags and campfire sites.” Ann Slade, a co-manager

       of the Campground since 1998, averred that the entire Campground was used “as

       needed for tents, trailers and recreational vehicles.” Slade averred that in addition

       to the campsites with utility connections, campers would use campsites in both the

       forested and open field areas of the property. According to Slade, during music

       festivals in 1995 through 1997, approximately 400 campsites were used at the

       Campground. Similarly, James Baeurle, Petitioner’s current operator, testified to

       the Board that on many occasions, 400 to 500 people camped at the campground for

       one event.

¶ 12         After the hearing, the Board issued an order wherein it found, in part:
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                         27. On January 1, 2013, there were 234 existing
                    campsites and a designated area which was used for tent
                    camping at Hampton Lodge.
                           28. The number of campsites within the tent
                    camping area should be calculated based on the designated
                    area for tent camping on a scaled version of the 96/97 site
                    plan, divided by the minimum campsite size (3000 square
                    feet) required by all zoning regulations prior to the 2013
                    UDO.
                            ....
                          36. Modifications to existing buildings and
                    structures are permitted inasmuch as the changes do not
                    extend to additional structures or to land outside the
                    original structure.
                           37. Sunny’s proposal and site plan includes the
                    addition of new facilities to Hampton Lodge, i.e. new
                    bathroom facilities, swimming pool, pool house, piers etc.

¶ 13         Upon its findings, the Board concluded, in relevant part:

                          3. Pursuant to 2013 UDO §§ 2.4.16(D)(3) and 10.1,
                    2013 UDO §8.2.6.A.(5) must be read in pari materia with
                    the 2013 UDO, specifically 2013 UDO §8.
                           4. Modifications to existing buildings and structures
                    are permitted inasmuch as the changes do not extend to
                    additional structures or to land outside the original
                    structure.
                          5. The new facilities proposed by Sunny qualify as
                    an    impermissible    expansion,    enlargement    and
                    intensification of a nonconforming use and are not
                    permitted.

       Based upon its findings of fact and conclusions of law, the Board affirmed the

       Director’s Letter.
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¶ 14         Petitioner petitioned the superior court for a writ of certiorari to review the

       Board’s decision. After reviewing the record on appeal, the Plan, the UDO, and the

       memoranda of the Parties, and hearing oral arguments on 27 January 2020, the

       superior court granted certiorari and reversed the Board. By written order, the

       superior court found in relevant part:

                           12. The . . . requested number of RV and tent
                    campsites proposed in Petitioner’s Major Site Plan are
                    consistent with the number of campsites in existence on
                    Hampton Lodge on January 1, 2013. Therefore, the Court
                    hereby allows 314 RV sites and 78 tent sites on the
                    Property and finds the number of proposed campsites does
                    not exceed the number of campsites in existence on the
                    property as of January 1, 2013, and does not increase or
                    expand the intensity of the nonconforming use, as set forth
                    in Section 8.2.6 of the UDO. Notably, the property has
                    potential, excluding wetland acreage, to be developed
                    differently, and more intensely, than as proposed by
                    Petitioner on the Major Site Plan.
                           13. . . . [A]ll health and safety improvements to
                    Hampton Lodge that are included on the Major Site Plan,
                    specifically including, infrastructure improvements to
                    update access roads and water and septic systems on the
                    property, do not violate the provisions of the UDO
                    governing nonconforming uses. The new bathhouses and
                    expansions of existing bathhouses proposed in the Major
                    Site Plan are permitted improvements to the Property
                    pursuant to the provisions of the UDO. The Court finds
                    the proposed health and safety improvements to Hampton
                    Lodge do not increase or intensify the nonconforming use
                    and are in keeping with the public policy of the State of
                    North Carolina to allow improvements to nonconforming
                    uses to enhance health and safety.
                          14. The Major Site Plan also proposes adding a porch
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                   to the existing footprint of the Camp Store located on the
                   property. While the proposed porch addition is not within
                   the footprint of the Camp Store in existence on January 1,
                   2013, the proposed addition is an appendage that will not
                   increase the intensity or scope of the nonconforming use.
                   Therefore, the proposed porch on the Camp Store is
                   allowed.
                          15. The Major Site Plan proposes installing a pool on
                   Hampton Lodge. The pool is not permitted within the
                   provisions of the UDO and is not allowed.

¶ 15         The superior court concluded, in relevant part:

                          16. The . . . Board of Adjustment’s decision was
                   arbitrary and capricious [and] not supported by
                   substantial, competent and material evidence in view of
                   the entire record as set forth above.
                          17. The . . . Board of Adjustment committed an error
                   of law in concluding that the new facilities proposed by
                   Petitioner    qualify     as    impermissible   expansion,
                   enlargement and intensification of a nonconforming use
                   and are not permitted under the UDO, with the exception
                   of the swimming pool.

       The superior court thus

                   remanded with instructions for the Board of Adjustment to
                   reverse the [Letter] and find that at least 314 campsites for
                   RV, trailer, or camper use and 78 sites for ordinary tent
                   camping as shown on the Major Site Plan existed as of
                   January 1, 2013, and that the modifications shown on the
                   Major Site Plan, except for the pool, are in compliance with
                   the provisions of the UDO, should be allowed, and do not
                   increase or expand the intensity of the nonconforming use.

¶ 16         Respondent appealed and Petitioner cross-appealed.
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                                          II.     Discussion

¶ 17          On appeal, Respondent contends that the superior court erred by (1) failing to

       articulate the standard of review applied to each issue; (2) reversing the Board’s

       decision as to the number of campsites existing at the Campground on 1 January

       2013; and (3) reversing the Board’s decision that certain modifications proposed in

       Petitioner’s Plan were not permitted under the UDO. Petitioner contends that the

       superior court erred by affirming the Board’s determination that the swimming pool

       was not allowed under the UDO.

       A. Standard of Review

¶ 18          A different standard of review applies at each level of an appeal from a decision

       of an administrative official charged with enforcing a zoning or unified development

       ordinance. A “board of adjustment shall hear and decide appeals from decisions of

       administrative officials charged with enforcement of the zoning or unified

       development ordinance . . . .”2 N.C. Gen. Stat. § 160A-388(b1) (2019); N.C. Gen. Stat.

       § 153A-345.1 (2019) (“The provisions of [N.C. Gen. Stat. §] 160A-388 are applicable

       to counties.”).3 In such an appeal, “the board of adjustment may reverse or affirm,


              2 The Director is the County’s administrative official charged with enforcing the UDO,

       see UDO § 9.5.1., and is empowered to decide applications for interpretation of the UDO, see
       UDO § 2.4.16.
             3 Effective 19 June 2020, the General Assembly consolidated the provisions governing

       planning and development regulations by local governments into a new Chapter 160D of the
       General Statutes. See An Act to Clarify, Consolidate, and Reorganize the Land-Use
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       wholly or partly, or may modify the decision appealed from and shall make any order,

       requirement, decision, or determination that ought to be made.” N.C. Gen. Stat.

       § 160A-388(b1)(8). Additionally, “[t]he board shall have all the powers of the official

       who made the decision.” Id.

¶ 19         A party may seek superior court review of a board of adjustment’s decision by

       filing a petition for review in the nature of certiorari.              N.C. Gen. Stat.

       § 160A-388(e2)(2) (2019).

                    (1) When reviewing the decision of a decision-making board
                    under the provisions of this section, the court shall ensure
                    that the rights of petitioners have not been prejudiced
                    because the decision-making body’s findings, inferences,
                    conclusions, or decisions were:

                          a. In violation of constitutional provisions, including
                             those protecting procedural due process rights.

                          b. In excess of the statutory authority conferred upon
                             the city or the authority conferred upon the
                             decision-making board by ordinance.

                          c. Inconsistent with applicable procedures specified
                             by statute or ordinance.

                          d. Affected by other error of law.

                          e. Unsupported by substantial competent evidence in
                             view of the entire record.




       Regulatory Laws of the State, S.L. 2019-111 § 2; An Act to Complete the Consolidation of
       Land-Use Provisions Into one Chapter of the General Statutes as Directed by S.L. 2019-111,
       as Recommended by the General Statutes Commission, S.L. 2020-25 § 51(b).
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                          f. Arbitrary or capricious.

       N.C. Gen. Stat. § 160A-393(k) (2019).

¶ 20         “Generally, the petitioner’s asserted errors dictate the scope of judicial review.”

       NCJS, LLC v. City of Charlotte, 255 N.C. App. 72, 76, 803 S.E.2d 684, 688 (2017).

       “[I]f the petitioner contends the [b]oard’s decision was not supported by the evidence

       or was arbitrary and capricious, then the reviewing court must apply the whole record

       test.” Id. (quotation marks and citations omitted). In applying the whole record test,

       the “reviewing superior court sits in the posture of an appellate court and does not

       review the sufficiency of evidence presented to it but reviews that evidence presented”

       to the board. Mann Media, Inc. v. Randolph Cnty. Plan. Bd., 356 N.C. 1, 12, 565

       S.E.2d 9, 17 (2002) (quotation marks and citation omitted). The whole record test

       requires the superior court to “examine all competent evidence (the ‘whole record’) in

       order to determine whether the [board’s] decision is supported by substantial

       evidence.”   Id. at 14, 565 S.E.2d at 17.        “Substantial evidence is that which a

       reasonable mind might accept as adequate to support a conclusion[.]” Sun Suites

       Holdings, L.L.C. v. Bd. of Aldermen of Garner, 139 N.C. App. 269, 273, 533 S.E.2d

       525, 528 (2000). “The ‘whole record’ test does not allow the reviewing court to replace

       the board’s judgment as between two reasonably conflicting views, even though the

       court could justifiably have reached a different result had the matter been before it

       de novo.” Mann Media, 356 N.C. at 14, 565 S.E.2d at 17-18 (citation omitted).
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¶ 21         Where a party contends the board’s decision was based on an error of law, de

       novo review is proper. Id. at 13, 565 S.E.2d at 17. Under de novo review, the superior

       court “consider[s] the matter anew[] and freely substitutes its own judgment for the

       agency’s judgment.” Sutton v. N.C. Dep’t of Labor, 132 N.C. App. 387, 389, 511 S.E.2d

       340, 341 (1999).

¶ 22         A superior court may apply both the whole record test and de novo review in a

       single case, “but the standards are to be applied separately to discrete issues.” Sun

       Suites, 139 N.C. App. at 273-74, 533 S.E.2d at 528 (citations omitted). This Court

       reviews a superior court’s order reviewing a board’s decision to determine “whether

       the superior court applied the correct standard of review” and “whether the superior

       court correctly applied that standard.” Myers Park Homeowners Ass’n, Inc. v. City of

       Charlotte, 229 N.C. App. 204, 208, 747 S.E.2d 338, 342 (2013) (quotation marks,

       brackets, and citation omitted).

       B. Superior Court’s Articulated Standards of Review

¶ 23         At the outset, Respondent argues that the superior court’s order must be

       vacated for failure to articulate the standard of review it applied to each issue. We

       disagree.

¶ 24         When reviewing an order by a county board of adjustment, a superior court

       “must set forth sufficient information in its order to reveal the scope of review utilized

       and the application of that review.” Mann Media, 356 N.C. at 13, 565 S.E.2d at 17                            85’ AND SUNNY, LLC V. CURRITUCK COUNTY

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       (quotation marks and citations omitted). In this case, Petitioner alleged before the

       superior court that: the Board’s decision to affirm the Letter was arbitrary and

       capricious; the Board’s conclusion that only 234 campsites existed as of 1 January

       2013 was arbitrary and capricious and was not supported by substantial, competent,

       and material evidence; the Board committed an error of law in concluding that

       Petitioner was permitted to modify existing facilities but not construct new facilities;

       and the Board’s decision to affirm the Letter was an abuse of discretion.

¶ 25         The superior court’s order specifically recites these allegations. The superior

       court’s findings, along with its conclusion that “the Board of Adjustment’s decision

       was arbitrary and capricious [and] not supported by substantial, competent and

       material evidence in view of the entire record as set forth above[,]” was sufficient

       information to reveal that the superior court applied the whole record test to

       Petitioner’s arguments that the Board’s decision to affirm the Letter was arbitrary

       and capricious and the Board’s conclusion that only 234 campsites existed as of

       1 January 2013 was arbitrary and capricious and was not supported by substantial,

       competent, and material evidence.          Additionally, the superior court’s order

       specifically articulated the de novo standard for Petitioner’s argument that the Board

       committed an error of law in applying the UDO to the proposed improvements. It is

       evident that the superior court articulated the correct standard of review it applied

       to each issue.
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       C. Determination of the Number of Campsites

¶ 26         Respondent argues that the superior court failed to correctly apply the whole

       record test in its review of the Board’s conclusion that, as of 1 January 2013, 234

       improved campsites and a number of tent campsites—determined by dividing the

       delineated tent camping area by 3,000 square feet—existed at the Campground.

       Respondent contends that there was substantial evidence in the record to support the

       Board’s conclusion.

¶ 27         The Board found, in relevant part, as follows:

                          19. In 1996 and 1997, Hampton Lodge applied for
                   two special event permits at which time they submitted a
                   site plan of the campground. The site plan shows 234
                   campsites, 90 vehicular parking spaces and an area for tent
                   camping. The same site plan was submitted in 1996 and
                   1997.
                         20. The 96/97 site plan was used at Hampton Lodge
                   to direct customers to campsite locations until the
                   campground was sold to Sunny in 2018.
                             ....
                         25. The 96/97 site plan is the most competent
                   evidence regarding the number of campsites that existed at
                   Hampton Lodge on January 1, 2013.

                          26. The site plans submitted by Sunny demonstrate
                   392-700 “potential” campsites for Hampton Lodge, not
                   existing campsites on January 1, 2013, as required by UDO
                   8.2.6.A.(5).
                        27. On January 1, 2013, there were 234 existing
                   campsites and a designated area which was used for tent
                   camping at Hampton Lodge.
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                           28. The number of campsites within the tent
                    camping area should be calculated based on the designated
                    area for tent camping on a scaled version of the 96/97 site
                    plan, divided by the minimum campsite size (3000 square
                    feet) required by all zoning regulations prior to the 2013
                    UDO.

¶ 28         The Board’s findings were supported by the 1996 and 1997 site plans. These

       site plans, submitted to county entities by previous owners of the campgrounds, each

       showed 234 campsites and a tent camping area. The Board found that these site

       plans were used until 2018 “to direct customers to campsite locations,” a finding that

       is not specifically challenged by Petitioner and is therefore binding on appeal. See

       Church v. Bemis Mfg. Co., 228 N.C. App. 23, 26, 743 S.E.2d 680, 682 (2013)

       (“Unchallenged findings of fact are presumed to be supported by competent evidence

       and are binding on appeal.”). The Director also testified that when she visited the

       Campground in June 2018, the tent area was marked with a single sign and

       corresponded to the tent area shown on the 1996 and 1997 site plans. Because a

       “reasonable mind might accept” this evidence “as adequate to support” the Board’s

       determination of the number of campsites, the Board’s determination was supported

       by substantial evidence. See Sun Suites, 139 N.C. App. at 273, 533 S.E.2d at 528.

¶ 29         Petitioner argues that evidence in the record suggested a greater number of

       campsites than found by the Board. This evidence, Petitioner contends, supports the

       superior court’s findings that 314 campsites for RV, trailer, or camper use, and 78
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       campsites for tent camping existed at the campground on 1 January 2013, and that

       “the property has potential, excluding wetland acreage, to be developed differently,

       and more intensely, than as proposed by Petitioner.” While the court must take into

       account “contradictory evidence or evidence from which conflicting inferences could

       be drawn[,]” “[t]he ‘whole record’ test does not allow the reviewing court to replace

       the Board’s judgment as between two reasonably conflicting views, even though the

       court could justifiably have reached a different result had the matter been before it

       de novo[.]” Thompson v. Wake Cnty. Bd. of Educ., 292 N.C. 406, 410, 233 S.E.2d 538,

       541 (1977) (citation omitted).

¶ 30         Here, the Board’s determination of the number of campsites was supported by

       substantial evidence.    Although there was the evidence from which conflicting

       inferences could have been drawn, the superior court erred by replacing the Board’s

       judgment with its own, even if “the court could justifiably have reached a different

       result had the matter been before it de novo[.]”        Id.   The superior court thus

       incorrectly applied the whole-record test to the issue of the number of campsites at

       the Campground on 1 January 2013.

       D. Proposed Improvements to the Campground

¶ 31         Respondent also contends that the superior court erred by reversing the

       Board’s conclusion that the UDO prohibited certain of the proposed improvements to

       the campground. Respondent argues that the Board correctly concluded that both
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       the general standards regarding nonconforming uses and the specific provisions

       concerning   nonconforming     campgrounds       apply   to   Petitioner’s   proposed

       improvements.

¶ 32         Petitioner, on the other hand, argues that the superior court correctly reversed

       the Board’s conclusion that the UDO prohibited certain of the proposed improvements

       to the campground, but erred by affirming the Board’s conclusion that the pool was

       not a permissible improvement. Petitioner argues that only the specific provisions

       concerning nonconforming campgrounds in Chapter 8 control, and that the Board

       committed an error of law by applying the general standards of the UDO concerning

       nonconforming uses.    In Petitioner’s view, all of its proposed improvements are

       permitted under the UDO because they do not expand the Campground’s land area

       or add to the number of campsites that existed on 1 January 2013.

¶ 33         The resolution of this dispute turns on the proper construction of Chapter 8 of

       the UDO.     Chapter 8 of the UDO regulates nonconforming uses.                While

       nonconforming uses “are allowed to continue, and are encouraged to receive routine

       maintenance[,]” UDO § 8.1.2., the “purpose and intent” of Chapter 8 “is to regulate

       and limit the continued existence” of nonconforming uses.       UDO § 8.1.1.     Non-

       conforming uses and structures “are not favored under the public policy of North

       Carolina, and zoning ordinances are construed against indefinite continuation of a

       non-conforming use.” Jirtle v. Bd. of Adjustment for the Town of Biscoe, 175 N.C.
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       App. 178, 181, 622 S.E.2d 713, 715 (2005) (quotation marks and citation omitted).

¶ 34         Section 8.2.3. provides general standards concerning the “[e]xpansion and

       [e]nlargement” of nonconforming uses:

                    A.     Except in accordance with this subsection, a
                    nonconforming use shall not be enlarged, expanded in area,
                    or intensified.

                    B. An existing nonconforming use may be enlarged into
                    any portion of the structure where it is located provided the
                    area for proposed expansion was designed and intended for
                    such use prior to the date the use became a nonconformity.
                    In no instance shall a nonconforming use be extended to
                    additional structures or to land outside the original
                    structure.

                    C. Open air uses that are nonconformities, including but
                    not limited to outdoor sales areas, parking lots, or storage
                    yards, shall not be extended to occupy more land area than
                    that in use when the open air use became nonconforming.

       U.D.O. § 8.2.3.

¶ 35         Chapter 8 also contains specific provisions governing nonconforming

       campgrounds. “Existing campgrounds may not be expanded to cover additional land

       area or exceed the total number of campsites that existed on January 1, 2013.” UDO

       § 8.2.6.B.(1). “Modifications to existing campgrounds are permitted provided the

       changes do not increase the nonconformity with respect to the number of campsites

       that existed on January 1, 2013.” UDO § 8.2.6.A.(5).

¶ 36         Ordinary principles of statutory construction apply to local zoning ordinances

       such as the UDO. See Westminster Homes, Inc. v. Town of Cary Zoning Bd. of
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       Adjustment, 354 N.C. 298, 303, 554 S.E.2d 634, 638 (2001). Generally, “when two

       statutes arguably address the same issue, one in specific terms and the other

       generally, the specific statute controls.” High Rock Lake Partners, LLC v. N.C. Dep’t

       of Transp., 366 N.C. 315, 322, 735 S.E.2d 300, 305 (2012) (citations omitted). But our

       courts have also recognized that, where possible, general and specific provisions

       addressing the same subject “should be read together and harmonized[.]” LexisNexis

       Risk Data Mgmt. v. N.C. Admin. Off. of Cts., 368 N.C. 180, 186, 775 S.E.2d 651, 655
       (2015) (quotation marks and citations omitted).

¶ 37         Here, it is possible to construe the general provisions concerning

       nonconforming    uses   and   the     specific   provisions   concerning   campgrounds

       harmoniously: Section 8.2.3. applies to all nonconforming uses, including

       nonconforming campgrounds, while section 8.2.6. imposes additional requirements

       on nonconforming campgrounds.             Thus, modifications to a nonconforming

       campground may not result in it being “enlarged, expanded in area, or intensified[,]”

       UDO § 8.2.3.A., nor may modifications expand a campground beyond the land area

       or number of campsites existing as of 1 January 2013, UDO § 8.2.6.B.(1), or otherwise

       “increase the nonconformity with respect to the number of campsites that existed” on

       that date, UDO § 8.2.6.A.(5).       This construction satisfies the “cardinal rule of

       statutory construction that significance and effect should . . . be accorded every part

       of the act, including every section, paragraph, sentence or clause, phrase, and word.”
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       State v. Williams, 286 N.C. 422, 432, 212 S.E.2d 113, 120 (1975) (quotation marks

       and citation omitted).

¶ 38         Moreover, Petitioner’s interpretation of Chapter 8 is contrary to the principle

       that “[a] construction which operates to defeat or impair the object of the statute must

       be avoided if that can reasonably be done without violence to the legislative

       language.” Burgess v. Your House of Raleigh, Inc., 326 N.C. 205, 215, 388 S.E.2d 134,

       140 (1990) (quoting State v. Hart, 287 N.C. 76, 80, 213 S.E.2d 291, 295 (1975)).

       Petitioner’s interpretation would allow any and all improvements to a nonconforming

       campground so long as they do not enlarge the campground’s land area or number of

       campsites beyond that which existed on 1 January 2013 or otherwise change the

       campground to another nonconforming use under section 8.2.2.               Under this

       interpretation, an owner could indefinitely extend the lifespan of a nonconforming

       campground by regularly upgrading the campground with new amenities.               This

       would contradict the stated purposes of Chapter 8 to “regulate and limit the

       continued existence” of nonconforming uses, UDO § 8.1.1. (emphasis added), and

       promote the continued viability of a land use that the County has deemed “generally

       incompatible with the permitted uses in the district[,]” see UDO § 8.2.1. (defining

       nonconforming uses).

¶ 39         The Board’s determination that “[t]he new facilities proposed by [Petitioner]

       qualify as an impermissible expansion, enlargement and intensification of a
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       nonconforming use and are not permitted” was in accordance with law, consistent

       with the purpose and intent of UDO Chapter 8 regulating and limiting the continued

       existence of nonconforming uses, and properly preserved the legislative body’s intent.

       The trial court did not err by affirming the Board’s conclusion that the pool was not

       a permissible proposed improvement. However, the trial court erred by reversing the

       Board’s conclusion that the remainder of the new facilities proposed by Petitioner are

       an impermissible expansion, enlargement, and intensification of a nonconforming use

       and are not permitted.

                                      III.     Conclusion

¶ 40         The superior court articulated the proper standard of review to apply to each

       issue on appeal.

¶ 41         The superior court incorrectly applied the whole record test to the Board’s

       determination of the number of campsites on Petitioner’s campground as of 1 January

       2013 as the Board’s decision concerning the number of campsites on the Campground

       was supported by substantial, competent evidence in view of the entire record.

¶ 42         The superior court correctly applied de novo review and properly affirmed the

       Board’s conclusion that Petitioner’s proposed swimming pool is an impermissible

       expansion, enlargement, and intensification of a nonconforming use and is not

       permitted under the UDO. The superior court incorrectly applied de novo review and

       erred by reversing the Board’s conclusion that the remaining new facilities proposed
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       by Petitioner are an impermissible expansion, enlargement, and intensification of a

       nonconforming use and are not permitted.

¶ 43         Accordingly, we affirm the portion of the superior court’s order that affirms the

       Board’s conclusion regarding the pool. We reverse the remainder of the superior

       court’s order and remand this matter to the superior court to affirm the remainder of

       the Board’s order. The net result is that the Board’s order affirmed.

             AFFIRMED IN PART; REVERSED AND REMANDED IN PART.

             Chief Judge STROUD and Judge WOOD concur.
